                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,                          )
                                                   )
                          Plaintiff,               )
                                                   )
       vs.                                         )       No. 21-03098-01-CR-S-MDH
                                                   )
GREGORY ARTHUR NORTON,                             )
                                                   )
                          Defendant.               )


                        ACCEPTANCE OF PLEA OF GUILTY AND
                             ADJUDICATION OF GUILT


       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty of the Defendant to the Information

filed on August 12, 2021, and Defendant’s admittance of Forfeiture Allegation contained in the

Information, are now Accepted. The Defendant is Adjudged Guilty of such offense. Sentencing

will be set by subsequent Order of the Court.




                                                          s/Douglas Harpool
                                                        DOUGLAS HARPOOL
                                                   UNITED STATES DISTRICT JUDGE




Date: August 27, 2021




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